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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                   Case No. 3:08cr84/LAC

ASIF MOHAMMAD

_____________________________________________________________________

                            ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which
there have been no timely objections, and subject to this Court’s consideration of the Plea Agreement
pursuant to Fed. R. Crim. P. 11, the plea of guilty of the Defendant, ASIF MOHAMMAD, to Count
I of the Indictment is hereby ACCEPTED. All parties shall appear before this Court for sentencing
as directed.
       DONE and ORDERED this 2nd day of October 2008.


                                              s /L.A. Collier
                                              LACEY A. COLLIER
                                              SENIOR UNITED STATES DISTRICT JUDGE
